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           . Case 3:17-cv-02641-AET   Document 17 Filed 09/13/17 Page 1 of 17 PageID: 282


                            IN THE UNITED STATES DISTRICT COURT
                                            FOR
                                     THE THIRD CIRCUIT                  RECEIVED
           UNITED STATES OF AMERICA
                                                                            SEP 13 2U17
                                                   *
                                                                               Chambers of
                                                                        Anne E. Thompson, U.S.D.J.
           v.                                      *     Civil No.:
                                                         Criminal No.: 3:12-cr-204-01

           C. TATE GEORGE                          *                       RECEIVED
                           Petitioner
                                                                                 SEP 13 2017
                                             *     *    *                   AT 8:30
                       PETITIONER'S REQUEST FOR LEAVE TO AMEND WILL-.:IA~M7-:T:::-.~W-A--LS_H_   M
                  MOTION TO VACATE, SET ASIDE OR CORRECT CONVICTIONCLEAK
           AND SENTENCE PURSUANT TO 28 U.S.C. SECTION 2255 WITH AFFIDAVIT


                       NOW COMES the Petitioner C. Tate George, pro se, and

           requests this Honorable Court for leave to amend his pending

           motion pursuant to 28       u.s.c.    Section 2255, and states as follows:

                       1. That the following proposed amendment is submitted

           to the court to correct certain discrepancies in the pending

           Section 2255 petition. This amendment is presented in the form

           of an affidavit duly signed by Petitioner.

                       2. That during my trial in 2013, the government sub-
           poenaed documents it'. later claimed not to have copies thereof

           right before Petitioner testified on his own behalf. My f0rmer

           attorney Mr. Schafer informed me of several boxes he had received

           from the government prior to trial. Petitioner recently received

           copies of his trial transcripts and· 'discovered that on September

           23, 2013 (during trial proceedings) that these boxes of discovery

           were actually received by his former attorney John Kaley's office,

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                       and not the government as indicated in Petitioner's Section 2255

                       motion.

                                 3. That in the transcript dated September 23, 2013, Mro

                       Schafer states that he had just received six to seven boxes from

                       John Ka1ey's office that he had not reviewed prior to trial.

                                 4. That attached hereto is a copy of the subpoena

                       delivered to Petitioner during trial requesting documents which

                       he had no access to prior to trial. In his Rule 33 filing and

                       hearing, Petitioner laid out evidence that was "blocked" by the

                       government on discs and emails by means of a subpoena on the

                       AOL Online Service that would have exposed all government witnesses

                       to perjury resulting in a jury verdict of not guiltyo

                                 5. Petitioner states in his Section 2255 petition that

                       the signed release was in the boxes handed over during the trial.

                       In truth, the said release was retrieved from the blocked discs

                       provided me post_;trial by the government through Mr. Schafer as

                       well as a copy that was .in the boxes handed over by attorney John

                       Kaley right before trial. Remember, Mr. Schafer failed to review

                       the contents of these boxes prior to trial.

                                 WHEREFORE, the Petitioner C. Tate George, pro se,

                       requests this Honorable Court for leave to amend his Section 2255

                       motion to include     the foregoing clarification of facts.

                                                     AFFIDAVIT

                                 I HEREBY CERTIFY that a copy of the foregoing "Request
                                                                       11
                       for Leave to amend the Section 2255 motion is based upon facts

                       that are true and correct to the best of my knowledge and belief

                       under penalty


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                                C~RTIFICATE   OF SERVICE


                I HEREBY CERTIFY that a copy of the foregoing Request

    for Leave to Amend was mailed on this 27th day of August, 2017,

    by first-class mail, postage prepaid to:


                             Bruce P. Keller, AUSA
                          Office of the U.S. Attorney
                                970 Broad Street
                                    R~. 700
                                Newark, NJ 07102



                                                               ate Georgei       se
                                                           Fed. No. 63223
                                                           FCI Fort Dix
                                                           Box 2000
                                                           Joint Base MDL, NJ
                                                                . 08640-5433




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                             EXHIBIT "A"

                 (EXCERPTS FROM TRIAL TRANSCRIPT)
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                  l I could highlight the paragraph from "accordingly" down to the                       1                 MR. SCHAFER:     Mr. George is going to testify.
                  21 signature of the judge or the clerk.                                                2                 MR. SBUMOFSKY:     We can excuse the jury so the

                  31             Judge, if I could read this one paragraph into the                      3   1   defendant can have an Advice of Rights before he testifies.

                  4 I record.                                                                            4 I The Government.     wo~ld    ask for that.

                  5              THE COURT:      Any objection?                                          5                 THE COURT:     Okay.   A little recess.

                   6             MR. INTRATER:      No, Your Honor.                                      6                 (End of side-bar.)

                   7             THE COURT:      Okay.                                                   7                 We're going to have a short recess, members of      th~


                  8              ~-   SCHAFER:     "Accordingly, we reverse the trial                    8,      jury.   We'll be back in 10 minutes.

                  91 judge's January 5th, 2011, orders granting swmnary judgement                        9                 (The jury leaves the courtroom.)

                 101    to the city and granting summary judgement to Gemennessee in                    10                 THE COURT:     We should do that now, counsel.

                 11     the foreclosure matter.      We affirm the January 5th, 2011,                   ll                 The Government has requested that there be a colloquy

                 121 order denying East Orange Housing Authority's motion for                           121 on the record regarding defendant's right to testify and his
                 131 summary judgement and we reverse the December 21st, 2011,                          131 corresponding right not to testify.            We have been given no

                 14 I final judgment of the tax sale certificate foreclosure in                         14 I protocol for this type of a proceedinq.           Do you have a

                 15 I favor of Gemennessee.        We remand to the trial court_ for                    151 suggestion, Mr. Shumofsky?
                 161 further proceedings consistent with this opinion.           Affirmed in            16                 MR. SBUMOFSKY:     I would just like the defendant --

                 171 part; reversed in part; and remanded.            We do not retain                  171 the Government ask he be aware he has a right not to testify,
                 18 I jurisdiction."                                                                    18 I that he will be tes.tifying under oath, that he has no
                 191             Your Honor, at this point --                                           191 obligation to testify at this point in trial, any statements
                 20              THE COURT:      Counsel, can I see you at the side,                    20 I he makes that not only can be used against him in this trial,

                 211 please?                                                                          · 21 I, if they are turn out to be untrue and they are of a material
                 22              (Whereupon the following occurred at side-bar:).                       22 I nature could be subject to a subsequent perjury proceeding
                 23              THE COURT:      I really try not to cut you off in                     231 against him.        I want to make sure he is aware of all those

                 24 I mid-sentence, but I just wanted to know what you were about to                    24 I things.before he takes the stand in this matter.           And, of

                 25    I say.                                                                           25 I course, please emphasize -- thi!lnk you, Mr. Intrater -- to the



                                        United States District Court                                                             United States District Court
                                             Trenton, New Jersev                                                                      Trenton, New Jersev
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      11    defendant that the Government's burden remains unchanged.            The         1 I Be was indicted in 2012 .     We didn't show up at the beginning

      2 I burden is on the Government, so he has no reason to testify,                       21 of jury selection to tell the defendant we were prosecuting

      3 I but if he does do that I want to make sure he is aware of his                      31 him.    Be has known this for a long time.       The·subject matter

      4 I rights before he takes the stand.                                                  4 I of the subpoena covers things the defendant should be aware
      5                THE COURT:       Mr. Schafer or counsel?                              5 I of.   There .. has been some evidence in this trial to suggest

      6                MR .. SCHAFER:     Your Honor, I have made my client aware            61 that the defendant has fabricated documents.          The Government

      71    of that.    I don't know whether this is related to this                         7 I learned tha.t the defendant would be taking the stand and

      8 I procedure here, but we received a subpoena on Friday night                         Bl served a subpoenaed to that ilk.        The Government suggests if

      91    at   -- I received it at approximately 5:24 p.m. I just                          91 these documents are in Mr. Schafer's office we adjourn for the

     10     happened to be in the office.         And it was to Mr. George and/or           101 day right now, the defendant go back to Mr. Schafer's office,
     111 The George Group, and it was, I guess, about a three-page                          11 I spend time befor.e cross-examination or his testimony in this
     121 subpoena for documents related to this particular trial.              As           121 case considering what's at risk for the defendant, look over

     131 far as    I know, most of Mr .. George's records are in my office                  131 those things and find what's relevant.
     14     scattered all over the office.         I picked them up from his                14             THE COURT:    Be would not -- the defendant would not

     151 former attorney Mr. Kaley.            Mr. George has been giving me a              151 have to respond to a subpoena from the Government if he
     161    couple things here and there, but 99 percent of this stuff was                  161 exercised his right not to testify because it would extend,
     171    from Mr. Kaley.     It is about six or seven boxes.                             171 also, to his right not to have to produce any documents.
     18             The subpoena was due to be returned today.        We did not            18             MR. SBUMOFSKY:     Yes, Your Honor, I will add that the

     1!!1   have time to search through these boxes, and I assume that                      191 Government also served a subpoena on The George Group L.L.C.

     201 I'll have time after the trial is done to go through this and                      201 and an entity that does not of a Fifth Amendment right, but,
     21 I see if we have any of the information requested.           But I just             21 I certainly, if the defendant does take the stand, and those
     221 thought we should put that on the record.                                          221 documents are not available to him, and he is not available to
     23                THE COURT:       Mr. Shumofsky?                                      231 respond to certain questions the Government may have, we want
     24                MR. SBUMOFSKY:       Your Bonor 1 the defendant has known            24 I to make sure he has the opportunity to find those things, if
     251 about this case since September of 2011 when he was arrested.                      251 necessary, if they're in Mr. Schafer's office.



                              United States District Court                                                        United States District Court
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                         1              THE COURT:     Yes?                                                     1 I hours come back and say that this information isn't here.              I
                         2              MR. INTRATER:     I'm sorry, Your Honor.     Just to add to             2 I mean, perhaps the Court should review the subpoena for itself
                         31   what Mr. Shumofsky said, the purpose of the subpoena,                             31 to look at what they're asking for.         I think if they could
                         4    obviously, is that to the extent on direct examination Tate                       4 I point to, number one, what documents that they believe are not

                         51 George makes certain claims, which claims would be supported                        SI true that have already been submitted, perhaps we can limit                   ·1

                         6 I by the existence of documents supporting his version of                            61 this whole search and tell them, look, we don't have anymore                   I




                         71 events, we want to make sure that there are no documents                            71 documents of that ilk,. but I don't want to have the jury

                         81 supporting Mr. George's version of events.          We're confident                 8 I waiting and me to come back in. whatever period of time is

                         91 that there are not, but just to put everybody on notice during                      91 elapsed and say, look, we don't have these documents.

                        101 cross-examination we will ask him if these supposed oral                           10               THE COURT:     Why don't you just turn the documents
                        111 modifications of important documents were made, where are the                      11 I over wholesale to the Government and when they have reviewed

                        121 modified    d~cumerits?    Where are the amendments?     Where are the             121 them they can let you know that they're ready?
                        131 signed versions by the counter parties?          That's what we're                 13               MR. SCHAFER:     This is -- as I said, Your Honor, it is
                        14 I looking for with the vast.majority of what's requested by the                     14 I like seven boxes of documents.
                        151 subpoena.                                                                          15               THE COURT:     Somebody has got to review them.

                        16              THE COURT:     All right.   Well, Mr. Schafer and Ms.                  16               MR. SBUMOFSKY:    The one thing the Government agrees
                        171 Bergman, if the table -- if the roles were reversed here and                       1 7 I with the defense on is the expeditious nature in which this
                        18 I you needed time to get ready for cross-examination, and you                       181 should be done.      The one person who is most familiar with
                        19 I needed to make sure that the witness was given a full                             191 those documents is the defendant.        It seems that if he is
                        201 opportunity to get their documents reviewed before they would                      20   I going   to take the stand we should all be in a position to know
                        211 have to be subject to cross-examination by- you, I think you                       21    if the documents do exist, if the search has been made, and if
                        221 would properly be requesting a brief recess, and I think that                      221 they don't exist that nothing has been found, and that's the

                        231 the Government's request is appropriate.                                           231 total amount of documents.        I mean, right now we're talking

                        24              MR. SCHAFER:     Your Honor, with all due respect, I                   24 I about six or seven boxes of documents in Mr. Schafer's office ..

                        251 don't want -- we have a jury here, and I can't in a couple                         25 I Are there       I would like to know, are there 20 boxes of



                                              United States District Court                                                            United States District Court
                                                   Trenton, New Jersev                                                                     Trenton, New Jersev
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      1 I documents sitting in Howard Trachtenberg•s office in Florida?                      1            To the same ilk, there was representations of Brevin

      21 If that• s the case., then, obviously, adjourning .it for three                     2 I Knight in August and September of 2009.        I have a check, I'm

      31 weeks would be something the Government could consider, but,                        31 sending you the check, wherever you want to be in the world

      4 I obviously, is not as realistic.       But we would like to know if                 4 I I'm sending it to you, it is there.        A month went by.     Brevin

      51 that's something out there that defendant is going the rely on                      5 I Knight said, I haven't gotten the check.         I want to ask the

      61 if he takes the stand and says, Well, I have it, i t is in a                        61 defendant if there is, does that check ever exist?            It would

      71 safe deposit    b~x   down in Florida in Boca Raton or whatever the                 71 be very good evidence for him if he showed us the check saying
      81 case may be, but the stuff, as you can imagine             Your Honor,              8 I here is the check, I wrote it out from this account, this is
      91 I'm happy to hand you a copy of the subpoena.           It is very                  9 I what happened.    I don't know why Mr. Knight didn't get it.

     101 straightforward things.                                                            10 I But we don't want to be sitting here in cross-examination and

     11             THE COURT:      It is business records, right?                          11 I for the defendant to flop in our lap, you know, I decided to

     12             MR. SBUMOFSKY:     Business records with respect to                     121 take the stand finally.        I have known about this case for two

     131   every single investor that has testified in this case.          We ask           13 I years.    This is my day in court.      I wish somebody told me I

     14    for any amendment with respect to the execution of documents.                    141 could have got this stuff together.         So we want to afford him

     15             With respect to -- and I have a copy I'm handing Your                   151 that opportunity.

     161 Honor with respect to the certain e-mails that Your Honor saw                      16              MR. SCHAFER:     Your Honor, I would ask the Court if we

     171 during the testimony of some of the individuals, for example,                      1 7 I could recess today, we' 11 send the jury home, and we will have
     18 I Mr. Mellinger there was representations by the defendant that                     181 an answer everything tomorrow morning either the documents or
     19 I he was breaking a CD and that the money would be available or                     191 a no to the documents.
     201 certificate of deposit and the money would be available for                        20              THE COURT:     I think, Mr. Schafer, that would be a

     21 I Mr. Mellinger.       I wanted to know the CD, what's the date of                  21 I very sensible course of action.
     221 it, are there any dpcuments to support that representation?                        22              MR. SCHAFER:     Thank you, Your Honor.

     23    What efforts were made with the bank to cash in on that CD?                      23              THE COURT:     Thank you.   So I'll tell the jury to come

     24 I All things of that nature when representations were made to                       24 I back .at 10.   We' 11 convene here at nine.     And we' 11 see where

     25 I certain defendants about money.                                                   25 I we   qo from there.




                           United States District Court                                                           United States District Court
                                Trenton, New Jersev                                                                    Trenton, New Jersev
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                         1             Let me see you at the. side briefly on the record.                         11 has nothing to do with attorney/client privilege if there's a
                         2             (Whereupon the following occurred at side-bar:)                            2 I document in

                         3             THE COURT:    I don't plan to bring the jury back in                       3             THE COURT:    A business record?

                         4 I the room just to tell them that we're adjourned for the day.                         4             MR. SBUMOFSKY:    A business record of the George Group

                         5 I Miss Heffner is very experienced at telling jurors as the case                       51 that demonstrates there's an amendment to a promissory note

                         61 goes on sometimes that there are some gaps.         So that's fine.                   61 for any of the investors that is something if for some reason
                         71 It is 3:00 now for the record.       The reason I wanted to see you                   71, Charles Houlihan is hanging on to he should have to produce

                         Bl at the side is that this is a public proceeding, obviously,                           81 that to Mr. George in defense of this case.
                         91 this trial is, but that we do have the sealed matter involving                        91          One moment, please.

                        101 the records of Charles Houlihan that Mr. Houlihan evidently                          101          If for some reason Mr. Houlihan is arguing I'm not

                        11 I hasn' t produced yet because he's not had a waiver      o~   the                    111 handing anything over until I'm paid that might work civilly,
                        121 attorney/client privilege provided to him by Mr. George.              I              12 I but considering Mr. George is under federal indictment the day
                        131 can foresee that this is going to become problematical if                            131 has come for him to testify, if that is the case          we ask that

                        14 I that's his answer to everything.      Mr. Houlihan keeps my bank                    14 I be brought to our attention so we can ask Your Honor to get
                        15 I records and my business records from that period of time.                I          151 involved to get a necessary order to hand over the records

                        161 don't know how to address it, but I can see it coming.                               16 I back to Mr. George, so they can be produced in court.
                        17             MR. INTRATER:    There's a limitation to i t all.        All              17             THE COURT:    I am adjourning the jury now, but we need

                        18 I we•·re looking for is -- all we're looking for by the subpoena                      181 to bring in by telephone as soon as possible without impeding
                        191 is for records in Mr. George's possession of all of these                            191 the document review that defense counsel and defendant will be
                        20 I modifications to the documents of all of the payments that he                       2.0 I doing, we need to bring in counsel for.     Mr. Houlihan, and I

                        21 I sent to his investors that were never received, all of the                        .21 I will tell them that business records would never be privileged
                        221 statements that Mr. George made in the e-mails and in letters                        221 and those would have to be provided to Mr. George to use in

                        231 that there's no backup for.                                                          23 I his defense.
                        24             MR. SHUMOFSKY:    But I would add, Your Honor, to the                     24             MR. INTRATER:    Exactly.

                        25 I extent that there's a file in Charles Houlihan' s office that                       25             THE COURT:    If they exist.     Okay?   All right.




                                              United States District Court                                                             United States District Court
                                                   Trenton, New Jersev                                                                      Trenton, New Jersev
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      l I Anything else?    Good.     Okay.                                                  1 I may need to do a little bit of extra investigation, as well.

      2              (End of side-bar.)                                                      2 I And I would like to afford them that opportunity, but i t can't

      3             THE COURT:      I hereby declare a recess because of this                31 all be accomplished realistically by tomorrow morning, so I

      4 I subpoena matter, and we will resume the trial in the morning                       4 I hereby direct that the jury be instructed that they not come

      51 at 9:00--a.m. so that the defense side can have an opportunity                      51 to trial tomorrow and that we'll resume the trial Wednesday

      61 to respond to the subpoena.          I'll instruct the courtroom                    61   morning.    We' 11 take i t day-by-day is all I can say.       But I

      71 deputy to tell the jury to be here to start at 10.                                  7    would like if possible tomorrow for us to conduct the jury

      8             MR. INTRATER:      Thank you, Your Honor.                                81 instruction charge conference so that we'll have that already

      9             THE COURT:      And then, counsel, you are required to                   91 taken care of and can move along smoothly with the jury

     lOI   stay behind because we have to have a sealed proceeding after                    10 I whenever we're able to reassemble with them.          Is that

     11 I the courtroom is clear.                                                           11 I acceptable?

     12             MR. INTRATER:      Yes, Your Honor.                                     12                MS. BERGMAN:    Yes.

     13                                (Brief Recess)                                       13                MR. INTRATER:     It is to the Government.

     14      (Whereupon, an on the r.ecord sealed matter was conducted.)                    14                MR. SCHAFER:    Your Honor, what time would you like us

     15             THE COURT:      Now we' re back on the record in the                    151 for the charge conference?

     16 I pending trial case, and I '11 just take your appearances,                         16                THE COURT:     Why don't you -- we can talk by phone in

     171 please.                                                                            171 the morning since we don't need to have the jury here in at

     18             MR.   I~TER:       Zach Intrater for the United States.                 18110, and I'm much more interested that you pursue this document

     19             MR. SCHAFER:      Dave Schaffer for Tate George.                        191 issue.       We can get around to the charge conference any time

     20             MS. BERGMAN:      Andrea Bergman for Tate George.                       201 tomorrow at your convenience because, obviously, our day is

     21             THE COURT:      Its 4:00 now, and we have had the                       21 I set aside for the trial.        So talk to the courtroom deputy.

     22 I developments that the Government served a document subpoena on                    22                MR. SCHAFER:    Thank you, Your Honor.

     231 the defendant, and the defense counsel will be reviewing those                     23                THE COURT:     We'll do the conference in person, but

     24 I documents for material that's responsive to the subpoena, and                     24   I scheduling   it tomorrow will be secondary to whatever you need

     251 i t is a pretty large volume of documents, and defense counsel                     25    to do for further trial preparation.




                           United States District Court                                                            United States District Court
                                Trenton. New Jersev                                                                     Trenton. New Jersev
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                        1             MR. INTRATER:     Thank you, Your Honor.

                        2             THE COURT:    Okay.    Good.

                        3              (Proceedings concluded at 4:00 p.m.)

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                                             United States District Court
                                                  Trenton, New Jersev
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                              EXHIBIT "B II   .



                           (COPY OF SUBPOENA) ·
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                   US v. George, 12-204 (MLC)
                   Shumofsky, Joseph (USANJ)
                   to:
                 ·. Andrea_Bergman@fd.org, David_Schafer@fd.org
                    09/20/2013 05:24 PM
                   Cc:
                 "Intrater, Zach (USANJ)'.', "Shumofsky, Joseph (USANJ)"
                 Hide Details
                 From: "Shumofsky, Joseph (USANJ)".<Joseph~Shumofsky@usdoj.gov>
                 To: "Andrea_Bergman@fd.org" <Andrea_Bergman@fd.org>, "David_Schafer@fd.org"
                 <David_:schafer@fd.org>,
                 Cc: "lntrater, Zach (JJSANJ)" <Zach.Intrater@usdoj.gov>, "Shumofsky, Joseph (USANJ)"
                 <Joseph. Shumofsky@usdoj.gov>
       1 Attachment
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                           ~                ..
        us v. George, 12-204 (MLC) - Subpoenapdf
       Andrea and David,

       Attached plea find a subpoena directed to The George Group, LLC and/or the defendant.

       Joseph

       Joseph

       Joseph B. Shumofsky
        Assistant United States Attorney
        United States Attorney's Office
        District of New Jersey
        970 Broad Street,·6th Floor
        Newark, New Jersey 07102
        Phone: 973-297-2098
        Fax: 973-297-2045
      _ Email: joseph.shumofsky@usdoj.gov




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        The George Group LLC and/or C. Tate George
        c/o Office of the Federal PubUc Defender
        llSouth Clinton Avenue
        Station Plaza No. 4, Fourth Floor
        Trenton, New Jeney 08609
        Attn.: Andrea Bergman, Esq. and pavid E. Schafer, Esq.

                                        SUBPOENA ATTACHMENT

               Please provide the following:

       I{ 1. All records relathig to written modifications to any contract, investment agreement,
               :finance agreement, promissory note, escrow agreement, or guarantee 1118de between The
               George Group, LLC, C. Tate George, Alexys Heights Development, LLC, Howard
               Trachtenberg or .any other entity owned or controlled by C. Tate George and any of the
               following individuals

                  a. Ralph Ramsey;
                  b. Dwayne Taylor;
                  c. Louis Melli~ger;
                  d. Brevin Knight;
                  e. Naiima Fauntleroy;
                  f. Randal Pinkett; and/or
                  g. Charlie Villanueva.

           2. All records related to payments made to Louis Mellinger as partial repayment of his
               investment of S150,000 with The Georg~ Group, LLC and C. Tate George, including

                  a. all records of a fax request to the bank on or about December 21, 2007 to wire
                     money to Louis Mellinger (Gov't Ex. 207);
                                                                                                             7
                  b. all records concerning the release of funds from.escrow to Louis Mellinger, a wire
                     sent out in and around Jan~ 25, 2008 to Louis Mellinger, . and/or µ
                     communications with the bank in and around January 25, 2008 to wire out funds
                     to Louis Mellinger (Gov't Ex. 208);

                  c. all records of a wire sent out in and around February 20, 2008- to Louis Mellinger      po
                     and/or communications with the bank in and around February 20, 2008 to wire
                     out funds to Louis Mellinger (Oov't Ex. 208);                       .~

                  d all records of the receipt of funds for a deal that closed on or
                    2.008 to be sent to Louis Mellinger (Gov't Ex. 212);
                                                                                       4 ··
                                                                                              February 29,   /JI

                  e. all records related to a $75,000 certificate of deposit ("CDj     ~d the cashing of A}1M. (l(t;
                     that CD on or about April 9,. 2008 (Gov't Ex. 223); and

                  f. all records related to debt that Jason Matthews owes to The George Group, LLC, )JI
                     Tate George, or any other entity controlled by C. Tate George (Oov't Ex. 263).
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           3. All records related to payments made to Brevin ~ight as partial repayment of his/'-;;
              investment of $300,000 with The George Group, LLC ~d C. Tate George, including .

                  a. all records concerning the release of funds from escrow to Brevin Knight, a wire     p;
                     sent out in and around June 12, 2008 to Brevin Knight, and/or communications
                     with the bank in and around· June 12, 2008 to wire out funds to Brevin Knight
                     (Gov't Ex. 419);                               ~"
                                                                    ,:?
                                                                     j~
                  b. all records related to a life insurance policyI~ and money received from a life      /!°
                     insurance policy on or about July 20, 2009, inqluding delivery of any payment to
                                                                     1
                     Brevin Knight (Gov't Ex. 423);                  ;



                  c. all records of payment to Brevin Knight on 015.~bout August 10, 2009 (Oov't Ex. J.JO
                     424); and · :                                -~: ·

                  d. aU records of payment to Brevin Knight on ol: about September 9, 2009 (Oov't         J.'°
                     Ex. 424).                                  .,

           4. All records related to payments made to Naiima Fauntleroy as partial repayment of her       ~o
              investment of $46,000 with The George Group, LLC ~d C. Tate George, including

                  a. all records concerning the release of funds from escrow to Naiima F~untleroy in      µ"
                     and around April 1, 2008, and/or communications with the bank to. wire out funds
                     to Naiima Fauntleroy (Gov't Ex. 4);            ·

                  b. all records of a wire sent out in and arotjnd October 23, 2009 to Naiitna            µo
                     Fauntleroy and/or communications with_.the-'bank to wire out funds to Naiima
                     Fauntleroy (Gov't Exs. 6 and 7);            f' -~:r::

                  c. all records relating to a lawsuit initiated by f&e George Group, LLC, C. Tate JlD
                       George, or any other entity controlled by C. Tate George against the East Orange
                       Housing Authority in and around March 24; 2011 (Gov't Ex. 8).
                                                                     fi
                                                                    "'j·"'

           S. All records related to any capitalization of'The· Georg~ Group, LLC, C. Tate George, or 'l:L S
              any other entity controlled by C. Tate George by H~ward Trachtenberg and/or Elaine
              Trachtenberg;                                      ·:;
                                                                     ~.J
           6. All records r~lated to any involvement of ~e Geo~ O~up, LLC, C. Tate George or JJ>
              any other entity controlled by c. Tate George ID the ronowing real estate developments:
                                                                       •:   ..
                                                                    . ~~
                  a.   Glendale Villas: 21101 Voyage Boulevard, Lan4 O'Lakes, FL 34639;
                  b.   Chelsea Meadows: 22620 Gage Loop, #30, Lq~ O'Lakes, ·FL 34639;
                  c.   Venetia Country Club: 200 Coun~ Club Driy~f Largo, FL 33771;
                  d.   The Laurels at Sherwood: 6065 10 Avenue, tfdrth Greenacres, FL 33463;
                  e.   Kentwood Park: 2302 Maki Road, Plant City, FL 33563;
                  f.   Sienna Park: 3441 Clark Road, Sarasota, FL 34231; and
                  g.   Garden Grove, 5719 Granada Drive, Sarasota, FL 34231;
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                     7. All records related to any business relationship between The George Group, LLC, C. Tate
                        George or any other entity controlled by. C. Tate George with Juan Puig and/or the Puig J;iJ
                        Development Group; · · ·                                                   ·

                     8. All records concerning the completion of the development and/or redevelopment of any           $
                        real estate by The George Group, LLC, C. Tate George or any other-entity-controlled by     f
                        C. Tate George, and the value of those real estate · development(s) and/or
                        redevelopment(s).                                                   ·

          H          9. All records regarding any business relationship between The George Group, .LLC, C. µo
                        Tate George or any other entity controlled by C. Tate George and Charles U. Houlihan,
                        Jr., other than an attorney-client relationship;

                     10. All records concerning any real estate closing related to The Geor.ge Group, LLC, C. Tate ,. / .,_,JJ/
                         George or any other entity controlled by C. Tate George that occurred on or about 'ft\        ':;'',J.
                         November 14, 2007 (Gov't Ex. 126);                                                           q<
                     11. All records relating t~ the source of the money deposited into TD Bank account "'-.5
                         #4283717771 in the name of Claude Tate George (Gov't Ex. 908); and     ·       {-

                     12. All records demonstrating the association of C. Tate George with 6022 NW 32nd Court, ~
                         Boca Raton, FL 33496, following October 20, 2010.




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